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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
        Plaintiff,                           )
                                             )
           v.                                )      Case No. 1:12-cr-102-11-TWP-MJD
                                             )
 STEPHEN M. WHITINGER,                       )
                                             )
        Defendant.                           )

                        ENTRY ON MOTION FOR MEDICAL CARE

        Pending before the Court is Defendant Stephen M. Whitinger’s (“Mr. Whitinger”)

 Motion for Medical Care (Dkt. 975). Mr. Whitinger has been in the custody of the United States

 Marshal Service (“USMS”) and housed in county jail facilities since July 2012 on the charges

 pending in this case. Mr. Whitinger has an abdominal aortic aneurysm that requires close

 monitoring, which is accomplished through periodic ultrasounds and he has not had an

 ultrasound performed since June 2011 (see Dkt. 975 at 1). In his motion, Mr. Whitinger asks this

 Court to “order the USMS to make necessary arrangements for an ultrasound to be performed”.

        The USMS is required to acquire “adequate…health care…to support prisoners under the

 custody of the U.S. Marshal who are not housed in Federal facilities.” See 28 C.F.R § 0.111(o).

 Cases addressing the standard of health care owed to prisoners most frequently arise in the

 context of eight amendment claims in Bivens and § 1983 actions alleging deliberate indifference

 to serious medical needs. Those cases provide helpful guidance to the Court in deciding whether

 to order the USMS to provide Mr. Whitinger with an ultrasound. Prisoners are entitled to

 reasonable medical care, but prison authorities have wide discretionary power as to the type of

 medical treatment which is required under the particular circumstances. Mathis v Pratt, 375 F.
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 Supp. (301 N.D.Ill. 1974)). As such, before this Court will order the procedure requested by Mr.

 Whitinger, at minimum, he must show that he has an acute condition for which urgent care is

 needed. He has not done so.

        As the Government argued in its response (Dkt. 1036), the averments contained in the

 Mr. Whitinger’s Motion are inadequate. The letter from Community Physician Network states

 Mr. Whitinger’s condition “requires close monitoring and periodic scans” and indicates it has

 been seventeen months since they last administered an ultrasound, however, the letter does not

 indicate that a scan is medically necessary at this time. Further, the Motion fails to show what

 efforts Mr. Whitinger and his counsel have made to resolve this request directly with the USMS.

        As Mr. Whitinger has not shown the Court that an order for an ultrasound is medically

 necessary at this time, the Motion For Medical Exam (Dkt. 975) is DENIED. This matter is

 scheduled for an attorney’s only pre-trial conference on December 11, 2012. If counsel believes

 this motion should be revisited, counsel should request a hearing on that date and secure the

 appearance of a representative from the USMS.



        SO ORDERED.


 Date: 11/16/2012

                                                 ________________________
                                                          _____________________________
                                                          Hon.
                                                 Hon. Tanya     TanyaPratt,
                                                             Walton    Walton   Pratt, Judge
                                                                             Judge
                                                          United
                                                 United States   StatesCourt
                                                               District District Court
                                                          Southern  District
                                                 Southern District of Indianaof Indiana




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